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                                     UNITED STATES DISTRICT COURT
 8                                  WESTERN DISTRICT OF WASHINGTON
                                              AT SEATTLE
 9
      UNITED STATES OF AMERICA,
10
                             Plaintiff,
11                                                                  CASE NO. CR02-423C
              v.
12                                                                  ACCEPTANCE OF PLEA OF GUILTY,
      RICHARD GROSNICKLE,                                           ADJUDICATION OF GUILT AND
13                                                                  NOTICE OF SENTENCING
                             Defendant.
14

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            This Court, having considered the Report and Recommendation of the United States Magistrate
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     Judge, to which there has been no timely objection, and subject to consideration of the Plea Agreement
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     pursuant to Fed. R. Crim. P. 11(c)(3), hereby accepts the plea of guilty of the defendant to the charge
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     contained in the Information, and the defendant is adjudged guilty of such offense. All parties shall
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     appear before this Court for sentencing as directed.
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            SO ORDERED this 28th day of _April_, 2005.




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                                                            UNITED STATES DISTRICT JUDGE
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26   ORDER – 1
